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 8

 9                             UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11

12   LORI DUNLAP, an individual,               Case No. 5:18-cv-1482
13                Plaintiff,
14                v.                           COMPLAINT
15 ALBERTSON’S LLC, a Delaware limited
   liability company; and DOES 1-10,
16 inclusive,

17                Defendants.
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 1           Plaintiff Lori Dunlap (“Plaintiff”) alleges the following upon information and
 2   belief based upon investigation of counsel, except as to her own acts, which she alleges
 3   upon personal knowledge:
 4                                    I.    INTRODUCTION
 5           1.     Plaintiff is completely blind, but wants very much to contribute to society.
 6   She would like to explore a career with Defendant Albertson’s LLC (“Defendant”), “an
 7   American grocery company founded and headquartered in Boise, Idaho”1 but was
 8   unable to do so because, as detailed herein, Defendant’s online job application system is
 9   inaccessible to blind individuals.
10           2.     Plaintiff’s experience is not unique. The blind, or visually-impaired, face
11   daunting challenges in all aspects of their lives, and obtaining and retaining
12   employment is one of the greatest difficulties they face. Indeed: “People with vision
13   loss experience a rate of unemployment that far exceeds that of the general population.
14   The American Federation of the Blind reports that in September 2010, the most recent
15   period for which there is data, 75 percent of the estimated 4 million adults in the U.S.
16   who are completely or partially blind are not in the labor force.”2
17           3.     Many of the difficulties faced by the blind in finding employment have
18   their genesis with misconceptions and resistance on the part of potential employers.
19   Specifically: “‘Among hiring managers, most respondents (54 percent) felt there were
20   few jobs at their company that blind employees could perform, and 45 percent said
21   accommodating such workers would require `considerable expense.’” The reality is
22   that a blind person can do any job that involves a computer, and there are a slew of
23   adaptive tech toys that make most jobs accessible, such as a portable scanner to read
24   printed material. As for the purported expense, according to the American Foundation
25

26
     1
27       https://en.wikipedia.org/wiki/Albertsons
     2
28       http://work.chron.com/high-rate-unemployment-blind-14312.html.

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 1   for the Blind, most accommodations cost less than $1,000, a negligible amount for a
 2   serious business.”3
 3         4.     In sum, many visually-impaired citizens are clearly employable and are
 4   willing and able to make contributions to society, but many employers continue to
 5   throw up obstacles to prevent the blind from seeking, and then finding, meaningful
 6   employment. As detailed herein, Plaintiff is one of those visually impaired people who
 7   want to enter the workforce but have not been able to. Plaintiff has encountered a
 8   variety of roadblocks in her efforts to find employment, including her effort to apply for
 9   a job with Defendant.
10         5.     Despite Plaintiff’s efforts, Defendant’s job application system remains
11   inaccessible to blind individuals. Unfortunately, multiple requests from Plaintiff have
12   borne no fruit in permitting Plaintiff to apply for employment with Defendant.
13         6.     Defendant’s failure to enter an interactive process with Plaintiff violates
14   California law. Specifically, under California’s Fair Employment and Housing Act
15   (“FEHA”), employers are obligated to “initiate an ‘interactive process’ when a disabled
16   prospective employee requests reasonable accommodations.”4 And that process must
17   be initiated “timely.” (See 2 Cal. Code of Regs. § 11069.) Failure to engage in this
18   process is unlawful in itself. (Cal. Government Code § 12940(n); Claudio v. Regents of
19   the University of California (2005) 134 Cal.App.4th 224, 243.)
20         7.     Here, Defendant has refused to enter the requisite interactive process by
21   making its online hiring service accessible to Plaintiff. Under these circumstances,
22   Plaintiff has no choice but to bring this lawsuit.
23   ///
24   ///
25   ///
26
27   Belo Cipriani, Hiring Blind: The Misconceptions Facing America’s Visually Impaired
     3

   Workforce,               Braille           Monitor,           July             2013,
   https://nfb.org/images/nfb/publications/bm/bm13/bm1307/bm130711.htm.
28 4
     https://www.dfeh.ca.gov/reasonable-accommodation/.
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1                             II.    JURISDICTION AND VENUE
2          8.     Plaintiff brings her complaint under federal diversity jurisdiction, 28
3    U.S.C. § 1332, as the parties are completely diverse in citizenship and the amount in
4    controversy exceeds $75,000.
5          9.     The Court has personal jurisdiction over Defendant because its grocery
6    stores operate in the State of California; Defendant engaged in the wrongdoing alleged
7    in this Complaint in the State of California; Defendant is authorized to do business in
8    the State of California; and Defendant has sufficient minimum contacts with the State of
9    California, rendering the exercise of jurisdiction by the Court permissible under
10   traditional notions of fair play and substantial justice. Moreover, Defendant is engaged
11   in substantial activity within the State of California.
12                                        III.   PARTIES
13         10.    Plaintiff, an adult resident of California, is permanently and totally blind.
14   As such, Plaintiff uses a “screen reader” when operating a computer. A “screen reader”
15   is a software program that allows blind users to read the text that is displayed on the
16   computer screen with a speech synthesizer and operates as the interface between the
17   computer’s operating system, its applications, and it speaks automatically when changes
18   occur on the computer screen.
19         11.    Defendant Albertson’s LLC is a Delaware limited liability company with
20   its principal place of business located in Boise, Idaho. Defendant owns, operates,
21   and/or controls the website at www.albertsons.com (“The Website”).
22         12.    The true names and capacities of the Defendants sued herein as DOES 1
23   through 10, inclusive, are currently unknown to Plaintiff, who therefore sues such
24   Defendants by fictitious names. Each of the Defendants designated herein as a DOE is
25   legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
26   Court to amend this Complaint to reflect the true names and capacities of the DOE
27   Defendants when such identities become known.
28   ///

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1                                            IV.     FACTS
2             A.    Background of the Online Job Postings.
3             13.   The Internet has become a significant source of information, a portal and
4    tool for conducting business, recruiting prospective employees, advertising job
5    openings, and providing an efficient and cost-effective method for applicants to submit
6    job applications for both the sighted and blind, and/or visually-impaired persons.
7    According to data gathered and analyzed by the Statistic Brain Research Institute
8    (www.statisticbrain.org), over 4,000,000 job positions are posted online each month and
9    over 18,000,000 Americans are hired via online job postings every year. In fact, 35.5%
10   of all jobs are filled via postings on the internet.
11            B.    The Importance of Access to Online Job Postings for the Visually
12            Impaired.
13            14.   As noted above, “75 percent of the estimated 4 million adults in the U.S.
14   who are completely or partially blind are not in the labor force.”5         Because the
15   employment application process has largely migrated online in recent years, it has
16   become extremely important to ensure that individuals with disabilities who want to
17   enter the workforce, including the visually impaired, be able to apply online for
18   positions.
19            15.   Indeed, the United States Department of Justice (“DOJ”) has publicly
20   posted a written statement entitled “Ensuring Access to Jobs for People with
21   Disabilities”, which states in relevant part:
22            “Americans with disabilities can face many unnecessary barriers to
              employment, both during the job application process and on the job. These
23            barriers can prevent people with disabilities from finding and maintaining
              a job, receiving promotions and ultimately being economically self-
24            sufficient and independent.
              During the job application process, applicants with disabilities may not
25            want to disclose their disabilities to potential employers for a number of
              reasons, including the risk that the employer would refuse to hire them
26            because of their disability. Sometimes employers stereotype people with
              disabilities or take adverse employment actions because of misinformation
27            or ignorance about certain health conditions. Having to disclose a
28   5   http://work.chron.com/high-rate-unemployment-blind-14312.html.
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           disability can deter people with disabilities even from applying for jobs out
1          of fear of discrimination.
2          Recognizing these real risks, Title I of the Americans with Disabilities Act
           (ADA) makes it unlawful for an employer to ask about whether an
3          applicant has with a disability or about the nature of such disability before
           making a conditional offer of employment. . . .
4
           Today, many job applications are completed online. Another barrier to
5          employment faced by some people with disabilities, such as those who are
           blind or have low vision, are deaf or hard of hearing, or have physical
6          disabilities affecting manual dexterity (such as limited ability to use a
           mouse), is that online job applications are not fully accessible to them.
7          Individuals with these disabilities use assistive technology, such as screen
           reading software and captions, to access online information. But websites
8          need to be designed to work with these technologies. Without the ability to
           access a job application, people with disabilities will not even have the
9          opportunity to apply for a job in the first place. Several investigations
           conducted by the department found that the public entity’s online
10         employment opportunities website or job applications were not fully
           accessible to people with disabilities. To resolve these violations, the
11         entities must ensure that their online employment opportunities website
           and job applications comply with the Web Content Accessibility
12         Guidelines 2.0, which are industry guidelines for making web content
           accessible.
13
           Ensuring that job applications are free from unlawful questions and
14         accessible to all applicants is essential to enable people with disabilities to
           find work and advance in their jobs. With equal access to employment,
15         hardworking Americans with disabilities can contribute as valued
           members of the workforce, and both justice and economic advancement
16         are served.”6
17
           16.   Screen access software provides the only method by which Plaintiff can
18
     independently access the internet. Thus, unless websites are designed to be read by
19
     screen reading software, Plaintiff and other blind persons are unable to fully access
20
     websites and the information and services contained thereon.
21
           17.   As noted in the DOJ statement, the international website standards
22
     organization, W3C, has published version 2.0 of the Web Content Accessibility
23
     Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established guidelines for making
24
     websites accessible to blind and visually-impaired people.          These guidelines are
25
     successfully followed by numerous large business entities to ensure their websites are
26
     accessible. These guidelines recommend several basic components for making websites
27

28
     6     https://www.justice.gov/archives/opa/blog/ensuring-access-jobs-people-disabilities
     (last visited April 9, 2018).
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1    accessible including, but not limited to: adding invisible alternative text to graphics;
2    ensuring that all functions can be performed using a keyboard and not just a mouse;
3    ensuring that image maps are accessible; and adding headings so that blind people can
4    easily navigate websites. Without these very basic components, a website will be
5    inaccessible to a blind or visually-impaired person using a screen reader.
6            C.    The Inaccessibility of Defendant’s Website to the Visually Impaired.
7            18.   With respect to prospective employees, Defendant states: “We offer a
8    range of career opportunities in a dynamic retail environment. We invite you to look
9    ahead and think of the possibility of a career with Albertsons.”7 Defendant’s website
10   offers a variety of positions, including retail store positions, positions in its corporate
11   division, supply chain positions, and in pharmacies.8 Defendant thus uses The Website
12   to recruit potential employees, advertise about specific employment, and enable
13   applicants to access https://www.albertsons.com/our-company/employment-positions/.
14           19.   Plaintiff believes that she would be qualified for one or more of these
15   categories of employment, and wants to explore The Website and apply for a position,
16   or even multiple positions, as appropriate. Unfortunately, when she attempted to access
17   The Website with her screen reader, she encountered numerous barriers that prevented
18   her from reviewing positions available, and then applying for those positions.
19
             20.   Specifically, The Website contains, among other things, the following
20
     multiple barriers that prevent blind individuals who use screen reader software from
21
     effectively accessing information on The Website and thus prevent blind individuals
22
     from applying for employment with Defendant:
23

24   https://www.albertsons.com/our-company/employment-positions/:
25        • 1 Linked image missing alternative text. An image without alternative text
            results in an empty link. Images that are the only thing within a link must have
26          descriptive alternative text. If an image is within a link that contains no text and
27   7   https://www.albertsons.com/our-company/employment-positions/
28   8   https://www.albertsons.com/our-company/employment-positions/
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            that image does not provide alternative text, a screen reader has no content to
1           present to the user regarding the function of the link.
        •   3 Missing form label. A form control does not have a corresponding label. If a
2           form control does not have a properly associated text label, the function or
            purpose of that form control may not be presented to screen reader users. Form
3           labels also provide visible descriptions and larger clickable targets for form
            controls.
4       •   1 Redundant alternative text. The alternative text for an image is the same as
            nearby or adjacent text. Alternative text that is the same as nearby or adjacent
5           text will be presented multiple times to screen readers or when images are
            unavailable.
6       •   1 Suspicious alternative text. Alternative text is likely insufficient or contains
            extraneous information. If the alternative text for an image does not provide the
7           same content or information conveyed by the image, that content will not be
            available to screen reader users and when images are unavailable.
8       •   2 Orphaned form label. A form label is present, but it is not correctly associated
            with a form control. An incorrectly associated label does not provide
9           functionality or information about the form control to the user. It usually
            indicates a coding or other form labeling issues.
10      •   1 Redundant link. Adjacent links go to the same URL. When adjacent links go to
            the same location (such as a linked product image and an adjacent linked product
11          name that go to the same product page) this results in additional navigation and
            repetition for keyboard and screen reader users.
12      •   4 Link to PDF document. A link to a PDF document is present. Unless authored
            with accessibility in mind, PDF documents often have accessibility issues.
13          Additionally, PDF documents are typically viewed using a separate application
            or plug-in, and can thus cause confusion and navigation difficulties.
14      •   1 Noscript element. A <noscript> element is present. Content within <noscript>
            is presented if JavaScript is disabled. Because nearly all users (including users of
15          screen readers and other assistive technologies) have JavaScript enabled,
            <noscript> cannot be used to provide an accessible version of inaccessible
16          scripted content.
        •   8 Redundant title text. Title attribute text is the same as text or alternative text.
17          The title attribute value is used to provide advisory information. It typically
            appears when the users hovers the mouse over an element. The advisory
18          information presented should not be identical to or very similar to the element
            text or alternative text.
19
            21.   These errors on The Website, and others like them, operated as a barrier to
20
     Plaintiff’s attempt to navigate The Website, learn the details of available positions, and
21
     submit an employment application to the Defendant. If the website were accessible,
22
     Plaintiff would have privately and independently investigated Defendant’s work
23
     opportunities and relevant information about Defendant just as sighted individuals can
24
     and do.
25
            D.    Plaintiff’s Efforts to Engage Defendant in an Interactive Process.
26
            22.   On June 12, 2018, Plaintiff made her first request for a reasonable
27
     accommodation to enable him to submit a job application to Defendant. Specifically,
28

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1    her    counsel     wrote     to    Defendant,       via    an       email   address   at
2    accessibilityfeedback@albertsons.com, as follows:
3             Lori Dunlap wants to apply for an open entry-level position with you that is
4             being advertised on your website in Southern California. She is well-qualified
5             for it and would be an asset to your company. However, Ms. Dunlap is
6             completely blind. Unfortunately, it is estimated that only 34 percent of
7             working age American citizens with disabilities like my client are employed –
8             compared to 75 percent of their non-disabled peers. You can help change
9             that!
10            Because she is blind, she uses a “screen reader” when operating a computer.
11            A “screen reader” is a software program that allows blind users to read the
12            text that is displayed on the computer screen with a speech synthesizer and
13            operates as the interface between the computer’s operating system, its
14            applications, and it speaks automatically when changes occur on the
15            computer screen. Most companies’ websites are configured in a way to enable
16            blind people using screen readers to navigate the site. Yours is not; as a
17            result, she cannot navigate your website to learn more about open positions or
18            apply for the position online, like your website recommends.
19            Your website lists this address as the point of contact at which to make
20            accommodation requests. As such, I request that you please remove the
21            access barriers on your website to enable her to submit an application; Once
22            hired, she will need some basic assistive technology to enable her to do a
23            great job for you. If it would help, I can give you a summary of the problems.
24            I will even give you a referral to an expert who can help you remove the
25            barriers in just a few hours’ time for less than $1,000.
26            Please contact me at your earliest convenience to coordinate the interactive
27            process. If you need any more information about her disability, her request
28            for accommodation, or documentation of her disability, just let me know.

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1          23.      Defendant thereafter did not respond to Plaintiff’s first request for
2    accommodation.
3          24.      On June 21, 2018, Plaintiff made her second request for reasonable
4    accommodation. Specifically, her counsel wrote:
5                Lori Dunlap wants to apply for an open entry-level position with you that is
6                being advertised on your website in Southern California. She is well-
7                qualified for it and would be an asset to your company. However, Ms.
8                Dunlap is completely blind. Unfortunately, It is estimated that only 34
9                percent of working age American citizens with disabilities like my client are
10               employed – compared to 75 percent of their non-disabled peers. You can help
11               change that!
12               Because she is blind, she uses a “screen reader” when operating a computer.
13               A “screen reader” is a software program that allows blind users to read the
14               text that is displayed on the computer screen with a speech synthesizer and
15               operates as the interface between the computer’s operating system, its
16               applications, and it speaks automatically when changes occur on the
17               computer screen. Most companies’ websites are configured in a way to enable
18               blind people using screen readers to navigate the site. Yours is not; as a
19               result, she cannot navigate your website to learn more about open positions
20               or apply for the position online, like your website recommends.
21               Your website lists this address as the point of contact at which to make
22               accommodation requests. As such, I request that you please remove the
23               access barriers on your website to enable her to submit an application;
24               Once hired, she will need some basic assistive technology to enable her to do
25               a great job for you. If it would help, I can give you a summary of the
26               problems. I will even give you a referral to an expert who can help you
27               remove the barriers in just a few hours time for less than $1,000.
28   ///

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1                This is my second request; I e-mailed you last week but did not hear from
2                you. Please contact me at your earliest convenience to coordinate the
3                interactive process. If you need any more information about her disability,
4                her request for accommodation, or documentation of her disability, just let me
5                know.
6          25.      Defendant did not respond to Plaintiff’s second request for reasonable
7    accommodation.
8          26.      On June 26, 2018, Plaintiff made her third and final written request for
9    reasonable accommodation to assist her in submitting a job application through
10   Plaintiff’s website:
11               Lori Dunlap wants to apply for an open entry-level position with Albertsons
12               that is being advertised on your website in Southern California. She is well-
13               qualified for it and would be an asset to your company. However, Ms.
14               Dunlap is completely blind. Unfortunately, It is estimated that only 34
15               percent of working age American citizens with disabilities like my client are
16               employed – compared to 75 percent of their non-disabled peers. You can help
17               change that!
18               Because she is blind, she uses a “screen reader” when operating a computer.
19               A “screen reader” is a software program that allows blind users to read the
20               text that is displayed on the computer screen with a speech synthesizer and
21               operates as the interface between the computer’s operating system, its
22               applications, and it speaks automatically when changes occur on the
23               computer screen. Most companies’ websites are configured in a way to enable
24               blind people using screen readers to navigate the site. Yours is not; as a
25               result, she cannot navigate your website to learn more about open positions
26               or apply for the position online, like your website recommends.
27               Your website lists this address as the point of contact at which to make
28               accommodation requests. As such, I request that you please remove the

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1                access barriers on your website to enable her to submit an application;
2                Once hired, she will need some basic assistive technology to enable her to do
3                a great job for you. If it would help, I can give you a summary of the
4                problems. I will even give you a referral to an expert who can help you
5                remove the barriers in just a few hours time for less than $1,000.
6                THIS IS MY THIRD AND FINAL REQUEST BEFORE FILING A
7                LAWSUIT. Please contact me at your earliest convenience to coordinate the
8                interactive process. If you need any more information about her disability,
9                her request for accommodation, or documentation of her disability, just let me
10               know.
11         27.      For the third time, Defendant provided no substantive response to
12   Plaintiff’s request and has not offered to proceed with the interactive process or
13   remediate the barriers on its website. As such, Plaintiff’s requests have been ignored
14   for four weeks.
15         28.      Defendant has de facto denied Plaintiff’s request for accommodation
16   without investigating it and without engaging in the interactive process, and Plaintiff
17   has concluded that Defendant is refusing to allow her to submit an application due to
18   her blindness. As such, Plaintiff has had to move on in her job search.
19         29.      Based on information and belief, and based on Plaintiff’s personal
20   experience with Defendant as described above, it is Defendant’s policy and practice to
21   deny blind individuals, including Plaintiff, equal access to employment by refusing to
22   remove communication barriers to blind individuals that are contained on The Website.
23   As such, Plaintiff has been and is being denied equal access to the information
24   concerning specific work opportunities offered to non-disabled individuals and is being
25   prevented from submitting an application for employment to Defendant.              In this
26   connection, Defendant’s inclusion of the accessiblityfeedback@albertsons.com email
27   address for use by disabled individuals to address accessibility and interactive process
28

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1    issues is meaningless; Defendant clearly never intended to address such issues with the
2    visually impaired even when notified about them.
3          30.    Plaintiff filed an administrative charge of discrimination with the
4    appropriate state agency in California, the Department of Fair Employment and
5    Housing, within the statutorily prescribed time limit, and on July 11, 2018, received an
6    immediate-right-to-sue notice.         Thus, Plaintiff has exhausted all applicable
7    administrative remedies.
8          31.    Notwithstanding anything to the contrary herein, Plaintiff does not allege
9    any claims arising under any federal law or regulation or under the Constitution of the
10   United States.
11                                 V.     CAUSES OF ACTION
12                                 FIRST CAUSE OF ACTION
13     Violation of California’s Fair Employment and Housing Act, Cal. Gov’t Code §
14                                            12940(m)
15                             (By Plaintiff Against All Defendants)
16         32.    Plaintiff incorporates by this reference the allegations contained in the
17   preceding paragraphs above as if fully set forth herein.
18         33.    “It is an unlawful employment practice” “[f]or an employer or other entity
19   covered by this part to fail to make reasonable accommodation for the known physical .
20   . . disability of an applicant . . . . (Cal. Gov’t Code § 12940(m)(1).)
21         34.    Employers who engage in recruiting activities must consider individuals on
22   an “equal basis” for all jobs. (2 Cal. Code of Regs. § 11070(a)(1).)
23         35.    “It is unlawful to advertise or publicize an employment benefit in any way
24   that discourages or is designed to discourage applicants with disabilities from applying
25   to a greater extent than individuals without disabilities.” (2 Cal. Code of Regs. §
26   11070(a)(2).)
27   ///
28   ///

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1          36.    “An employer or other covered entity must consider and accept
2    applications from applicants with or without disabilities equally.” (2 Cal. Code of
3    Regs. § 11070(b)(1).)
4          37.    The FEHA requires liberal construction of its provisions to accomplish its
5    purposes. (Cal. Gov’t Code § 12993(a); see also Richards v. CH2M Hill, Inc. (2001) 26
6    Cal.4th 798, 819.)
7          38.    After amending the FEHA in 1992, the California Legislature made clear
8    that its provisions must be construed to provide disabled persons with the greatest
9    protection available under either state or federal law. Specifically, the Legislature
10   declared its intent “to strengthen California law in areas where it is weaker than the
11   [Disabilities Act] and to retain California law when it provides more protection for
12   individuals with disabilities than the [Disabilities Act].” (Stats. 1992, ch. 913, § 1, p.
13   4282; see also Colmenares v. Braemar Country Club, Inc. (2003) 29 Cal.4th 1019,
14   1026.) In 2000, the Legislature also declared: “Although the federal act provided a
15   floor of protection, this state’s law has always, even prior to passage of the federal act,
16   afforded additional protections.” (Cal. Gov’t Code § 12926.1(a).)
17         39.    Defendant    has   violated   FEHA     by failing      to   make   reasonable
18   accommodation for Plaintiff’s known and obvious physical disability, her blindness.
19   Likewise, Defendant has failed to make any attempt to show that the requested
20   accommodation would impose an undue hardship on Defendant. As set forth herein,
21   Defendant has, for all intents and purposes, deliberately refused to engage in any effort
22   to accommodate Plaintiff.
23         40.    Defendant has engaged in recruiting activities and encourages applicants to
24   submit job applications via its website, but has failed to consider Plaintiff on an “equal
25   basis” for all jobs, unlike individuals who are not visually impaired.
26         41.    Defendant has advertised its employment opportunities in a way that
27   discourages and/or is designed to discourage applicants with disabilities, especially
28   blind applicants, from applying to a greater extent than individuals without disabilities.

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1    Specifically, as detailed above, Plaintiff attempted, unsuccessfully, to access The
2    Website to explore possible employment with Plaintiff, and Defendant has refused, and
3    continues to fail and refuse, to make any effort to accommodate Plaintiff’s disability.
4          42.    In so doing, Defendant has failed to consider and accept applications from
5    blind applicants equally with applicants without disabilities.
6                                   SECOND CAUSE OF ACTION
7      FAILURE TO ENGAGE TIMELY IN INTERACTIVE PROCESS (Cal. Gov’t
8                                         Code § 12940(n))
9                              (By Plaintiff Against All Defendants)
10         43.    Plaintiff realleges and incorporates herein by reference each of the
11   allegations set forth above as if fully set forth herein.
12         44.    At all times herein mentioned, the FEHA, embodied in Government Code
13   section 12940 was in full force and effect. This act requires that employers engage both
14   employees and job applicants known to have physical disabilities in a good faith,
15   timely, interactive process.
16         45.    The interactive process is described by Title 2 California Code of
17   Regulations, Section 11069, which provides, in relevant part, as follows: “Interactive
18   Process. When needed to identify or implement an effective, reasonable accommodation
19   for an employee or applicant with a disability, the FEHA requires a timely, good faith,
20   interactive process between an employer or other covered entity and an applicant,
21   employee, or the individual's representative, with a known physical or mental disability
22   or medical condition. Both the employer or other covered entity and the applicant,
23   employee or the individual's representative shall exchange essential information
24   identified below without delay or obstruction of the process. (2 Cal. Code of Regs. §
25   11069(a); emphasis added.)
26         46.    According to the online Collins dictionary, “If you describe an event
27   as timely, it happens exactly at the moment when it is most useful, effective, or
28

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1    relevant.”9 The online Merriam-Webster dictionary defines “timely” as “coming early
2    or at the right time.” 10
3             47.   Here, nothing about Defendant’s conduct has been timely. Plaintiff sent
4    multiple requests to seek accommodation for her blindness, and Defendant has failed to
5    make any substantive response over a four week period. Best practices usually require
6    a response to such requests in three to seven days; even sprawling federal agencies
7    mandate a response within two weeks. Indeed, Defendant likely violated its own
8    internal policies regarding the interactive process.
9             48.   Defendant was aware that Plaintiff suffered from a disability. However,
10   Defendant ignored multiple requests for accommodation and refused to engage Plaintiff
11   in the interactive process in connection with her disability.
12            49.   As a result of Defendant’s failure to engage timely with Plaintiff in the
13   interactive process, Plaintiff was discriminated against based on her physical disability
14   and was never provided with a reasonable accommodation.
15            50.   Based on Defendant’s course of conduct, which was willful, malicious,
16   knowing, intentional, and in conscious disregard for Plaintiff’s rights, Plaintiff seeks an
17   award of punitive and exemplary damages in an amount according to proof at trial.
18                                 IV.      PRAYER FOR RELIEF
19            WHEREFORE, Plaintiff prays for judgment as follows:
20            1.    General and compensatory damages in a sum according to proof at time of
21   trial;
22            2.    Consequential and incidental damages in a sum according to proof at time
23   of trial;
24            3.    Payment of Plaintiffs reasonable and actual attorney fees in a sum
25   according to proof at time of trial;
26            4.    For costs of suit herein incurred;
27   9   https://www.collinsdictionary.com/us/dictionary/english/timely; emphasis in original.
28   10   https://www.merriam-webster.com/dictionary/timely.
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1           5.    Injunctive relief;
2           6.    Pre-judgment interest at the legal prevailing rate;
3           7.    Punitive and exemplary damages in a sum according to proof at time of
4    trial; and
5           8.    For such other and further relief as the Court deems just and proper.
6

7    Dated: July 12, 2018                   PACIFIC TRIAL ATTORNEYS, APC
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9                                           By: /s/Scott J. Ferrell
                                            Scott. J. Ferrell
10                                          Attorneys for Plaintiff
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 1                              DEMAND FOR JURY TRIAL
 2          Plaintiff hereby demands a trial by jury of all claims and causes of action so
 3   triable in this lawsuit.
 4   Dated: July 12, 2018                 PACIFIC TRIAL ATTORNEYS, APC
 5

 6                                        By: /s/Scott J. Ferrell
                                          Scott. J. Ferrell
 7                                        Attorneys for Plaintiff
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